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                        IN THE UNITED STATES DISTRICT COURT FOR t HE"                    IN OPFN COl!F!T_

                                 EASTERN DISTRICT OF VIRGINIA
                                                                                        DEC 1 5 201b
                                          Alexandria Division
                                                                                     fiERK U.S.DISIHlCi COURT
                                                                                     ^fiipyANDRlA. VIRGINIA     .
    UNITED STATES OF AMERICA
                                                           Criminal No. 1:16cr 265
                   V.

                                                           Count 1:      18U.S.C.§2339B
    NICHOLAS YOUNG,                                                      Attempt to Provide Material Support
                                                                         to a Designated Foreign Terrorist
           Defendant.                                                    Organization

                                                           Counts 2-4: 18 U.S.C. § 1512
                                                                         Obstruction of Justice



                                             INDICTMENT


                                 December 2016 Term - At Alexandria


           THE GRAND JURY CHARGES THAT:


                                               COUNT 1


                 ATTEMPT TO PROVIDE MATERIAL SUPPORT OR RESOURCES
                                          (18 U.S.C. §2339B)

           1. On October 15,2004, the United States Secretary of State designated al-Qa'ida in Iraq

    ("AQI"), then known as Jam'at al Tawhid wa'al-Jihad, as a Foreign Terrorist Organization

    ("FTO") under Section 219 of the Immigration and Nationality Act and as a Specially

    Designated Global Terrorist under section 1(b) of Executive Order 13224.

           2. On May 15,2014, the Secretary of State amended the designation of al-Qa'ida in Iraq

    ("AQI") as a Foreign Terrorist Organization ("FTO") under Section 219 of the Immigration and

    Nationality Act and as a Specially Designated Global Terrorist entity under section 1(b) of

    Executive Order 13224 to add the alias Islamic State of Iraq and the Levant ("ISIL") as its
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'   primary name. The Secretary also added the following aliases to the ISIL listing: the Islamic

    State of Iraq and al-Sham, the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-'Iraq

    wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media Production. On

    September 21,2015, the Secretary added the following aliases to the ISIL listing: Islamic State,

    ISIL, and ISIS. To date, ISIL remains a designated FTO.

            3. Between on or about December 3,2015, and on or about August 2,2016, in Fairfax

    County in the Eastern District of Virginia and elsewhere, defendant NICHOLAS YOUNG did

    knowingly and unlawfully attempt to provide "material support and resources," as that term is

    defined in Title 18, United States Code, Section 2339A(b), including personnel, money, property

    and services, to a foreign terrorist organization, to wit, the Islamic State of Iraq and the Levant

    (ISIL), which at all relevant times was designated by the Secretary of State as a foreign terrorist

    organization, knowing that ISIL had been designated as a foreign terrorist organization, and

    knowing that ISIL had engaged in, and was engaging in, terrorist activity and terrorism.

            4. As part of his attempt to provide material support to ISIL, among other things, when

    the Federal Bureau of Investigation ("FBI") interviewed YOUNG about the whereabouts of an

    individual with whom YOUNG associated and communicated (herein referred to as "M"), and

    whom YOUNG believed had traveled fi-om the United States to Syria to join ISIL, YOUNG

    attempted to provide misleading information to the FBI in order to protect M's ability to avoid

    capture and continue to serve ISIL. In addition, understanding and believingthat ISIL needed

    assistance in obtaining gift cards to facilitate the recruitment of others to join ISIL, YOUNG

    provided gift cards (and gift card codes) to M understanding and intending that the fimds held in

    those gift cards would be providedto ISIL and used by ISIL to facilitate the recruitment of others

    to join ISIL.

                    (All in violation of Title 18, United States Code, Section 2339B.)
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                                            COUNT2


                                 OBSTRUCTION OF JUSTICE


       1. Paragraphs 1 and 2 of Count 1 of this Indictment are incorporated by reference.

       2. Between on or about December 3,2015, and December 5, 2015, in Fairfax County, in

the Eastern District of Virginia, defendant NICHOLAS YOUNG did knowingly, unlawfully, and

corruptly attempt to obstruct and impede an official proceeding. In specific, NICHOLAS

YOUNG knew that the FBI was investigating the circumstances of what YOUNG believed to be

the attempt of an individual referred to here as "M" to travel to join ISIL, a designated foreign

terrorist organization. Nevertheless, in an attempt to thwart the investigation and prosecution of

M and ofNICHOLAS YOUNG, himself, for attempting to provide material support to ISIL,

NICHOLAS YOUNG attempted to deceive investigators with respect to the destination and

purpose of what YOUNG believed to be M's travel overseas in 2014.

              (All in violation of Title 18, United States Code, Section 1512(c)(2).)
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                                            COUNT 3


                                 OBSTRUCTION OF JUSTICE


       1. Paragraphs 1 and 2 of Count 1 of this Indictment are incorporated by reference.

       2. Between on or about December 3,2015, and December 5, 2015, in Fairfax County, in

the Eastern District of Virginia, defendant NICHOLAS YOUNG did knowingly and unlawfully

attempt to corruptly persuade another person, and engage in misleading conduct toward another

person, with intent to hinder, delay, and prevent the communication to a law enforcement officer

or judge of the United States of information relating to the possible commission of a federal

offense.

       3. In specific, NICHOLAS YOUNG believed that particular special agents of the FBI's

Joint Terrorism Task Force ("JTTF") were investigating whether an individual referred to here as

"M" had joined or conspired to join the designated foreign terrorist organizationknown as ISIL;

to hinder, delay, and prevent those special agents of the JTTF from communicating to a law

enforcement officer or judge of the United States information for a search warrant or an arrest

warrant involving the possible commission by M of an attempt to provide material support to

ISIL, YOUNG falsely told the JTTF special agents that (a) M had left the United States to go on

a vacation tour in Turkey approximately one year earlier, when YOUNG instead believed that M

had gone to Turkey to go from there to join and fight for ISIL; and (b) YOUNG knew of no one

with whom M had spoken to for guidance on making his travel, when YOUNG instead knew that

YOUNG himself had given extensive guidance to M on how to travel overseas fi*om the United

States to join ISIL.

              (All in violation of Title 18, United States Code, Section 1512(b)(3).)
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                                            COUNT 4

                                 OBSTRUCTION OF JUSTICE

       1. Paragraphs 1 and2 of Count 1 of this Indictment are incorporated by reference.

       2. On or aboutNovember 20,2014, in Fairfax County in the Eastern District of Virginia

and elsewhere, defendant NICHOLAS YOUNG did knowingly, unlawfully, and corruptly

attempt to obstruct, influence, and unpede an official proceeding of the Grand Jury. In specific,

NICHOLAS YOUNG sent a text messageto a cell phone that YOUNGbelieved to be used by an

individual referred to here as     in orderto make it falsely appear to the FBI that M had left the

United States to go on a vacationtour in Ttirkey when, instead,NICHOLAS YOUNG believed

that M had gone to Turkey to go from there to Syria in order to join and fight for the designated

foreign terrorist organization known as ISIL.

                 (All in violation of.Title 18, United States Code, Sections 1512(c)(2).)



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                                                     FOREPERSON OF THE GRAND JURY


       Dana Boente
       United States Attorney


By:                  ^
                Oibbs
       Gordon D. Kromberg
       Assistant United States Attorneys
